 

Case 8:20-mj-00774-DUTY Document5 Filed 11/05/20 Page1of1i Page ID#:9

 

FILED
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L DISTRICT OF CALIFORNIA

DEPUTY

 

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF

Vv. 8:20-MJ-00774

 

 

 

Jeremy Anthony O'Canna
ORDER OF TEMPORARY DETENTION

PENDING HEARING PURSUANT

 

 

 

 

DEFENDANT(S). TO BAIL REFORM ACT
Upon motion of Defendant , 1T IS ORDERED that a detention hearing
is set for Tuesday, November 10 , 2020 , at 10:00 Xla.m. /Op.m. before the
Honorable Autumn D. Spaeth , in Courtroom 10D

 

 

Pending this hearing, the defendant shall be held in custody by the United States Marshal or
and produced for the hearing.

a

gistrate Judge
AUTUMN D. SPAETH

 

(Other custodial officer)

   

Dated: {6 [20

 

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